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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:inrethepeopleofthestateofcoloradovdexterno22sa1732023co5february21,2023"&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2023 CO 5&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;In Re The &lt;span class="ldml-name"&gt;People of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Plaintiff&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Kerrie Lyn Dexter&lt;/span&gt;. &lt;span class="ldml-role"&gt;Defendant&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 22SA173&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;February 21, 2023&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="160" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="160" data-sentence-id="173" class="ldml-sentence"&gt;Original Proceeding Pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_173"&gt;&lt;span class="ldml-refname"&gt;C.A.R. 21 Larimer County
 District Court&lt;/span&gt; &lt;span class="ldml-cite"&gt;Case No. 20CR2485&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Honorable Sarah B. Cure&lt;/span&gt;,
 Judge&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="296" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="296" data-sentence-id="307" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Rehearing&lt;/span&gt; DENIED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="339" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="339" data-sentence-id="352" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt; would grant the petition.&lt;/span&gt;
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